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4
     Attorney for Defendant
5    Janelle Miller
6                      IN THE UNITED STATES DISTRICT COURT
7                 IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,         )   Case No. Cr.S 06-495 MCE
                                       )
10                Plaintiff,           )   STIPULATION AND ORDER MODIFYING
                                       )   CONDITIONS OF RELEASE
11        vs.                          )
                                       )
12   JANELLE MILLER                    )
                                       )
13                                     )
                  Defendant            )
14                                     )
15

16
          IT IS HEREBY STIPULATED AND AGREED by the parties through
17
     their respective attorneys that Janelle Miller, defendant herein
18
     may travel to Oakland California and San Francisco California on
19
     Friday, November 20, 2009 and return on Saturday, November 21,
20
     2009. Ms. Miller will be in the company of her father and mother
21
     to attend a funeral and to attend a birthday party.
22
          The above referenced modification has been discussed with
23
     Pre-Trial Services Officer, Steven Sheehan, and he is in
24
     agreement.
25




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1          All other conditions of pre-trial release to remain in full
2    force and effect.
3

4
     IT IS SO STIPULATED
5

6
     /S/ JASON HITT
7    Jason Hitt, Esq.,                              Dated: November 13, 2009
     Assistant United States Attorney
8    Attorney for Plaintiff

9

10

11
     /S/Michael B. Bigelow                          Dated: November 13, 2009
12
     Michael B. Bigelow
     Attorney for Defendant
13

14

15                                       ORDER

16
           IT IS ORDERED that pursuant to stipulation and with the
17
     concurrence of pretrial services, Janelle Miller shall be
18
     permitted to travel to Oakland, California and San Francisco,
19

20   California on November 20, 2009 and return to Sacramento,

21   California on November 21, 2009.

22   DATED: November 13, 2009.

23                                        ______________________________________
                                          DALE A. DROZD
24                                        UNITED STATES MAGISTRATE JUDGE
25   Ddad1/orders.criminal/miller0495.stipord




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